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                                 IN THE UNITED STATES DISTRICT COURT
                                  FOR THE WESTERN DISTRICT OF TEXAS
                                            WACO DIVISION

JOE OLINICK,                                                     §
                                                                 §
          Plaintiff,                                             §
                                                                 §
v.                                                               §           CASE NO. 6:11-cv-152
                                                                 §
WYSE FINANCIAL SERVICES, INC.                                    §
                                                                 §
          Defendant.                                             §

                                ORDER FOR DISMISSAL WITH PREJUDICE

          On this day came to be considered the Stipulation of Dismissal filed by Plaintiff, Joe

Olinick (“Plaintiff”), and Defendant, Wyse Financial Services, Inc. (“Defendant”).

         The Court is of the opinion that said motion is well taken that it should be, and is hereby,

GRANTED.

          It is, therefore, ORDERED, ADJUDGED, and DECREED that all of Plaintiff’s claims and causes

of action that were, or could have been asserted against Defendant are hereby dismissed with

prejudice. Furthermore, all costs shall be borne by the party incurring the same.

          SIGNED on this the                           day of                      , 2012.




                                                                             JUDGE PRESIDING




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